         Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 1 of 44
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                                                                C
                    IN THE UNITED STATES I>ISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ERIN DEGNAN
 2036 County Club Drive
 Doylestown, PA 18901                                     CIVIL ACTION NO:
              Plaintiff,
        V.

 NATIONWIDE MUTUAL
 INSURANCE COMPANY                                                      18         4592
 One Nationwide Gateway
 De~ Moines, IA 50391-5867
         and
 UNITRIN DIRECT PROPERTY &
 CASUALTY COMPANY
 One East Wacker Drive
 Chicago, IL 60601
        and
 KEMPER CORPORATION
 One East Wacker Drive
 Chicago, IL 60601
       and
 KEMPER DIRECT
 One East Wacker Drive
 Chicago, IL 60601
       and
 KEMPER SERVICES GROUP
 One East Wacker Drive
 Chicago, IL 6060 I
              Defendants.



                                 NOTICE OF REMOVAL

TO:    THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

       Pursuant to 28 U.S.C. §§ 1332, 1441(a) and 1446, Defendants, Unitrin Direct Property &

Casualty Company, Kemper Corporation, Kemper Direct and Kemper Services Group,

(hereinafter "Defendants"), hereby file the instant Notice of Removal. Defendants seek removal
             Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 2 of 44



of this case from the Court of Common Pleas of Philadelphia County, Pennsylvania to the United

States District Court for the Eastern District of Pennsylvania in Philadelphia, Pennsylvania. In

support ofthis Notice of Removal, Defendants state as follows:

                CASE BACKGROUND AND FOUNDATION FOR REMOVAL

        1.      On or about October 4, 2018, Plaintiff commenced an action in the Court of

Common Pleas of Philadelphia County, Pennsylvania, against Defendants. Plaintiffs Complaint

seeks judgment against Defendants for breach of contract pursuant to a UIM policy of insurance

and arising out of a motor vehicle accident that allegedly occurred on or about October 13, 2011.

       2.       Plaintiff served Defendants with the Complaint on or about October 4, 2018. A true

and correct copy of Plaintiffs Complaint, which constitutes the entirety of all pleadings filed in

this matter, is attached hereto as Exhibit A and incorporated by reference.

       3.       This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1332.

Further, this matter is one that could be removed to this Court pursuant to 28 U.S.C. § 1441 because

it is a civil action between citizens of different states and in which the amount in controversy

exceeds $75,000, exclusive of interest and costs.

       4.       The United States District Court for the Eastern District of Pennsylvania is the

appropriate Court in which to file this Petition for Removal because the State Court Action is

pending in Philadelphia County, Pennsylvania. See 28 U.S.C. § 1441(a).

       5.       All defendants consent to removal. See Exhibit B, which is an email from counsel

for Nationwide Mutual Insurance Company providing written consent to the removal of this action.

                        COMPLETE DIVERSITY OF CITIZENSHIP

       6.       There is complete diversity of citizenship between the parties.

                (a) Plaintiff. Plaintiff Erin Degnan is a citizen of Pennsylvania, residing at 2036

Country Club Drive, Doylestown, PA 18901. See Complaint, Ex. A, at" 1.
            Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 3 of 44



                (b)   Defendants.    Unitrin Direct Property & Casualty Company, Kemper

Corporation, Kemper Direct and Kemper Services Group are incorporated in a state other than

Pennsylvania and their principal place of business is located in a state other than Pennsylvania.

Unitrin Direct Property & Casualty Company, Kemper Corporation, Kemper Direct and Kemper

Services Group are Illinois corporations with their principal place of business in Illinois. Thus,

Unitrin Direct Property & Casualty Company, Kemper Corporation, Kemper Direct and Kemper

Services Group are not citizens of Pennsylvania and are diverse from the Plaintiff.

               Co-Defendant Nationwide Mutual Insurance Company is incorporated in a state

other than Pennsylvania and its principle place of business is located in a state other than

Pennsylvania. Thus, all of the defendants are diverse from the plaintiff.

                      AMOUNT IN CONTROVERSY EXCEEDS $75,000

       7.      Plaintiff does not quantify the amount of damages she seeks to recover in this case.

See Complaint. From the face of the Complaint, however, it is apparent that the amount in

controversy more likely than not exceeds $75,000, exclusive of interest and costs.

       8.      Because "'the Complaint may be silent or ambiguous on one or more of the

ingredients needed to calculate the amount in controversy,' '[a] defendant's notice of removal then

serves the same function as the Complaint would in a suit filed in federal court."' Morgan v. Gay,

471 F.3d 469,474 (3d Cir. 2006).

       9.    Where a federal cause of action is based on diversity jurisdiction, the Complaint must

allege an amount in controversy between the parties in excess of the statutory minimum. See 28

U.S.C. § 1332(a); Golden v. Gold..en, 382 FJd 348, 354-355 (3d Cir. 2004). The amount need not

be proven; rather, the amount is judged from the face of the Complaint and is generally established

by a good faith allegation. See Horton v. Liberty Mut. Ins. Co., 367 U.S. 348, 353, 6 L. Ed. 2d

890, 81 S. Ct. 1570 (1961) (measuring "good faith" by whether it appears "to a legal certainty the
          Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 4 of 44



claim is really for less than the jurisdictional amount") (internal quotations and citations omitted);

St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 288, 82 L. Ed. 845, 58 S. Ct. 586

(1938); see also Jumara v. State FruJ!l Ins. Co., 55 F.3d 873, 877 (3d Cir. 1995).

        10.     Here, the amount in controversy more likely than not exceeds $75,000 based on

Plaintiff's claims, her alleged injuries, and the recovery sought.      Plaintiff seeks recovery of

uninsured motorist benefits in an amount greater than $50,000 from the defendants. See Complaint

at Civil Cover Sheet and Wherefore Clauses. The allegations here are that Plaintiff sustained severe

injuries to her back and head. She alleges she sustained the following injuries: bulging discs at

C4-5 and C5-6 requiring epidural injections, disc desiccation at L4-5, headaches, shooting pains,

numbness, post traumatic myofascial syndrome, cervical strain and sprain, lumbar sprain and

strain, and a severe shock to her nervous system of which she alleges all have caused her great

pain and agony and allegedly have prevented her, and will continue to prevent her in the future,

from attending to her daily duties and occupation. See Complaint, Ex. A at~ 10.

       11.     Plaintiff also seeks damages for past and future lost wages and is seeking

compensation for impairment of her future earning capacity. Plaintiff also alleges she sustained

"great financial damage and loss." See Complaint, Ex. A at~ 10-13.

       12.     Unitrin Direct Property & Casualty Company, Kemper Corporation, Kemper Direct

and Kemper Services Group deny the allegations in the Complaint.             However, taking those

allegations on their face as true, it is clear that Plaintiffs claims as evidenced by the Complaint

attached hereto as Exhibit A, demonstrate an amount in controversy in excess of$75,000.

       13.     Given the complete diversity of the real parties and an amount in controversy in

excess of $75,000, this Court has jurisdiction over the causes of action and claims asserted in the

State Court Action pursuant to 28 U.S.C. § 1332, and this action properly is removable pursuant

to 28 U.S.C. § 1441.
          Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 5 of 44



                                         OTHER ISSUES

        14.    This Notice of Removal is timely filed. See 28 U.S.C. § I446(b).

        15.    This Notice of Removal has been served on Plaintiffs counsel.

       16.     The undersigned counsel hereby certifies that there are no hearings set before the

Court of Common Pleas of Philadelphia County, Pennsylvania from which this case is removed,

and all pleadings and process files therein are attached hereto.

                                         CONCLUSION

       Because Plaintiff and all Defendants are citizens of different states, and the amount in

controversy exceeds $75,000, exclusive of interest and costs, and all defendants consent to

removal, this Court has jurisdiction over Plaintiffs claims pursuant to 28 U.S.C. § 1332.

Defendants are therefore entitled to remove this case to this Court pursuant to 28 U .S.C. § 1441.

       WHEREFORE, Unitrin Direct Property & Casualty Company, Kemper Corporation,

Kemper Direct and Kemper Services C'iroup requests that the action now pending before the Court

of Common Pleas of Philadelphia County, Pennsylvania, October Term, 2018, No. 588, be

removed to this Court.

                                              Respectfully Submitted,


                                              Stickley LawmLL

                                              By:1 - -Robert S. S · ey
                                                      Attorneys for Defendants,
                                                      Unitrin Direct Property & Casualty Company,
                                                      Kemper Corporation, Kemper Direct, and
                                                      Kemper Services Group
                                                      Identification No. 80849
                                                      18 Campus Blvd. Suite 100
                                                      Newtown Square, PA 19073
                                                      484-423-3425
                                                      rstickley@stickley .law
Dated: tO /   d~JJ<(
Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 6 of 44




          EXHIBIT A
                       Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 7 of 44


         Court of Common Pleas of Philadelphia County
                       Trial Division
                    Civil Cover Sheet
PLAINTIFF'S NAME                                                                    DE.FE.NDANT'S NAME
  ERIN DEGNAN                                                                         NATIONWIDE MUTUAL INSURANCE COMPANY

P\.A1NT IFPS ADDRESS
                                                                                      ~·  .
                                                                                    DEFEND.A.NT'S ADDRESS
  2036 COUNTRY CLUB DRIVE                                                             ONE NATIONWIDE GATEWAY
  DOYLESTOWN PA 18901                                                                 DES MOINES IA 50391

PLAINTIWS NAME
                                                                                           .
                                                                                    DEFENDANT'S NAME
                                                                                      UNITRIN DIRECT PROPER7Y                            &   CASUALTY COMPANY

PLAINTIFF'S ADDRESS                                                                 DEFENDANT'S ADDRESS
                                                                                      ONE EAST WACKER DRIVE
                                                                                      CHICAGO IL 60601

PLAINTIFF'S NAME                                                                    DEFENDANT'S NAME
                                                                                      KEMPER CORPORATION

PLAINTIFF'S ADDRESS                                                                 DEFE.NDANT'S ADDRE.SS
                                                                                      ONE EAST WACKER DR:VE
                                                                                      CH:CAGO IL 60601

TOTAL NUMBER OF PLAINTIFFS                 TOT Al. NUMBER OF DEFENDANTS     COMMENCEMENT OF ACTION

                                                            5
                                                                           fr'i:x:f COlllplamt            D         Pet1t1on Action                D    Notice of Appeal
                                                                           I O Writ. of Summons D                   Transfer From Other Junsd1ct1ons
AMOUNT 1111 CONTRO\/f RSY
                                       .
                                  COURT PROGRAMS
                                                                                         '

                                  D        Arb1trat1on           . D 'Mass T~rt                          0          Commerce                       D   Settlement
D     $50,000.00 or less          D        Jury                    ·O Sat1nis Action                     ·o Mmor Court Appeal                      D   Mmors
liJ   More than $50,000.00        Iii      Non-Jury                .D Petition                           0          Statutory Appeals              D   W/D/Survtval

                                                                                                      --=-- ---
                                  D        Other
                                                                                                      ""'- -,   ~- """""''"""   ,..
CASE TYPE AND CODE

  10 - CONTRACTS OTHER

STATUTORY BASIS FOR CAUSE: OF ACTION




RE"LATE'O PE"NDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBFR)
                                                                                    RI.ED                                             IS CASE SUBJECT TO
                                                                                                                                      COORDIIIIATION ORDER?
                                                                             PROPROTHY                                                             YES        NO

                                                                          OCT 04 2018
                                                                              M.BRYANT
TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: ERIN DE.GNAN
Papers may be served at the address set forth below.

NAME OF PlAINTIFF"SJPETITIONER'S/APPE"LLANT'S ATTORNEY                             ADDRESS
 KEVIN M. MA:,LOY                                                                    1760 MARKET STREET
                                                                                     SUI':'E 120:
PHONE NUMBicR                                  FAX NUMBER                            PHILADE~PHIA PA 19103
  (21SJS87-990C                                (215)587-9930

SUPREME COURT IDE"NTIFICA TION IIIO.                                               E ·MAIL ADDRESS
 55685                                                                               km@d1sandrornalloy.corr.

SIGNATURE OF Fl~ING ATTORNEY OR PARTY                                              DATE SU8M1TTE::>
 KEVIN MALLOY
                                                                                     Thursday, October 04, 2018, 09:06 am
                                                         FINAL COPY (Approved by the Prothonotary Clerk)
            Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 8 of 44




COMPLETE LIST OF DEFENDANTS:
    1. NATIONWIDE M0TUAL INSURANCE COMPANY
           ONE NATIONWIDE GATEWAY
           DES MOINES IA 50391
    2.   UNITRIN DIREC7 PROPERTY & CASUAL7Y COMPANY
           ONE EAST WACKER DRIVE
           CHICAGO :L 60601
    3.   KEMPER CORPORATION
           ONE EAST WACKER DRIVE
           CHICAGO :L 60601
    4.   KEMPER DIRECT
           ONE EAST WACKER DRIVE
           CHICAGO IL 60601
    5.   KEMPER SERVICES GROUP
           ONE EAST WACKER DRIVE
           CHICAGO IL 60601
           Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 9 of 44



DISANDRO & MALLOY, P.C.
By: Kevin M. Malloy, Esquire
Identification No. 55685                                                    ATIORNEY FOR PLAINTIFF
                                                                                                             Filed G~A<et'e,li'.J:,ed by the
1760 Market Street, Suite 1201                                                                             Ot ei ce      ·'           Records
Philadelphia, Pennsylvania 19103                                                                                04                    0~ am
                                                                                                                  I                    .,
(215) 587-9900                                                                                                    J!::                \ ~)
                                                                                                                  '=
                                                                                                                  )--'                 i:"";
                                                                                                                   \
ERIN DEGNAN                                                              COURT OF COMMON PL,
2036 Country Club Drive                                                  PHILADELPHIA COUNTY
Doylestown, PA 1890 I

vs.
                                                                                      TERM,2018
NATIONWIDE MUTUAL
INSURANCE COMPANY                                                        NO.
One Nationwide Gateway
Des Moines, IA 50391-5867
and
UNITRIN DIRECT PROPERTY &
CASUALTY COMPANY
One East Wacker Drive
Chicago, IL 6060 I
and
(caption continued on next page)


                                                          CIVIL ACTION
                               NOTICE                                                                 AVISO
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 entering a written appc.-ance personally or by attorney and films in    notiticacion. Hace falta &'!COW ooa comparesencia escrita a en
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 complaint or for any other claim or relief requested by the plamtiff    nouficaclOn. Adcmis, la cortc puede dccidir I favor del demandantc
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      LAWYER REFERRAL AND INFORMATION SERVICE                            CON INFORMACION DE AGENCIAS QUE PUEDE OFRECER
               1101 Market Street, 11"' noor                             SERVICIOS LEGALES A PERSONAS ELEGIBLE A UN COSTO
                 Philadelphia, PA 19107                                  REDUCIDO O SIN COSTO NlNGUNO.
                Telephone; 215-238-6333
                                                                         ASOCIACION DE LICENCIADOS DE l'ILADELFIA SERVICIO
                                                                               DE REFERENCIA E INFORMACION LEGAL
                                                                                      1101 Market Street, 11"' floor
                                                                                     Filadelfia, Pennsylvania 19107
                                                                                        Telefooo: 21S-238-6333
      Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 10 of 44




(caption continued from previous p1ge)

KEMPER CORPORATION
One East Wacker Drive
Chicago, IL 60601
and
KEMPER DIRECT
One East Wacker Drive
Chicago, IL 60601
and
KEMPER SERVICES GROUP
One East Wacker Drive
Chicago, IL 60601




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      Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 11 of 44




DISANDRO & MALLOY, P.C.
By: Kevin M. Malloy, Esquire
Identification No. 55685                         ATTORNEY FOR PLAINTIFF
1760 Market Street, Suite 1201
Philadelphia, Pennsylvania 19103
(215) 587-9900


ERIN DEGNAN                                    COURT OF COMMON PLEAS
2036 Country Club Drive                        PHILADELPHIA COUNTY
Doylestown, PA 18901

vs.
                                                        TERM, 2018
NATIONWIDE MUTUAL
INSURANCE COMPANY                              NO.
One Nationwide Gateway
Des Moines, IA 50391-5867
and
UNITRIN DIRECT PROPERTY &
CASUALTY COMPANY
One East Wacker Drive
Chicago, IL 60601
and
KEMPER CORPORATION
One East Wacker Drive
Chicago, IL 60601
and
KEMPER DIRECT
One East Wacker Drive
Chicago, IL 60601
and
KEMPER SERVICES GROUP
One East Wacker Drive
Chicago, IL 6060 I


                                     CIVIL ACTION

      1.     Plaintiff, Erin Degnan, is an individual who resides at 2036 Country Club Drive,

Doylestown, PA 18901.
         Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 12 of 44




         2.    Defendant, Nationwide Mutual Insurance Company, is a Corporation licensed to

do business in the Commonwealth of Pennsylvania, with an address of One Nationwide

Gateway, Des Moines, IA 50391-5867.

         3.    Defendant, Unitrin Direct Property & Casualty Company, is a Corporation

licensed to do business in the Commonwealth of Pennsylvania, with an address of One East

Wacker Drive, Chicago, IL 60601.

         4.    Defendant, Kemper Corporation, is a Corporation licensed to do business in the

Commonwealth of Pennsylvania, with an address of One East Wacker Drive, Chicago, IL

60601.

         5.    Defendant, Kemper Direct, is a Corporation licensed to do business in the

Commonwealth of Pennsylvania, with an address of One East Wacker Drive, Chicago, IL

60601.

         6.    Defendant, Kemper Services Group, is a Corporation licensed to do business in

the Commonwealth of Pennsylvania, with an address of One East Wacker Drive, Chicago, IL

60601.

         7.    At all times material hereto, defendants, Nationwide Mutual Insurance Company

and/or Unitrin Direct Property & Casualty Company and/or Kemper Corporation and/or Kemper

Direct and/or Kemper Services Group, were duly organized corporations doing business on a

regular basis in the County of Philadelphia, deriving substantial compensation therefrom.

         8.    This matter arises from a motor vehicle accident that occurred on October 13,

2011, at which time plaintiff, Erin Degnan, was the operator of a motor vehicle which was struck

by another motor vehicle owned and operated by tortfeasor, Denise Washington.
       Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 13 of 44




        9.     The aforesaid motor vehicle accident occurred at/near Old York Road and

Wheatsheaf Road, Abington Township, Montgomery County, Commonwealth of Pennsylvania,

and was the sole result of the negligence and/or recklessness of tortfeasor, Denise Washington,

who was then and there operating her motor vehicle in a negligent and/or reckless manner,

failing to have proper control of her vehicle, thereby causing a rear end collision.

        I 0.   As a result of the above mentioned accident, plaintiff sustained the following

injuries: bulging discs at C4-5 and CS-6 requiring epidural injections, disc desiccation at L4-5,

headaches, shooting pains, numbness, post traumatic myofascial syndrome, cervical strain and

sprain, lumbar sprain and sprain, and a severe shock to her nervous system, all of which have

caused her and will continue to cause her great pain and agony, and have prevented her and will

continue to prevent her in the future from attending to her daily duties and occupation, all to her

great financial damage and loss.

        11.    Plaintiff is covered by the "Full Tort" option, which gives her the unlimited right

to sue under Pennsylvania Law for both economic and noneconomic losses arising from this

accident.

       12.     Further, by reason of the aforesaid, plaintiff, Erin Degnan, has been obliged to

expend various sums of money for medicine and medical attention in and about endeavoring to

treat and cure herself of her said injuries, and will be obliged to expend additional sums of

money for the same purposes in the future, all to her great financial damage and loss.

       13.     As a further result of the accident and the injuries sustained therein, plaintiff, Erin

Degnan, has and may suffer lost wages and an impairment of her earning capacity and power,

which lost wages and impairment of earning capacity and power has or may exceed the swns
       Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 14 of 44




recoverable under the limitations of the Pennsylvania Motor Vehicle Financial Responsibility

law.

        14.    The owner and operator of the vehicle which struck the plaintiff on the date of the

accident was insured by State Farm Mutual Automobile Insurance Company, which policy

provided for $25,000.00 of liability coverage under the policy, with no excess umbrella

coverage.

        15.     On or about October 8, 2014, State Farm Mutual Automobile Insurance Company

agreed to pay its $25,000.00 policy limit to settle this claim, which is confirmed by way of letter

dated October 30, 2014, a copy of which is attached hereto and marked as Exhibit "A".

                                              COUNT ONE

              ERIN DEGNAN V. NATIONWIDE MUTUAL INSURANCE COMPA~Y

        16.    Plaintiff incorporates herein by reference the averments contained in paragraphs 1

through 15, inclusive, as fully as though the same were set forth herein at length.

        17.    On or about October 9, 2014, a letter was directed to Nationwide Mutual

Insurance Company confirming receipt of an offer of settlement in the amount of the policy limit

of $25,000.00, requesting consent to settle and waiver of subrogation for purposes of pursuing an

~derinsured motorist claim with Nationwide Mutual Insurance Company, a copy of which letter

is attached hereto as Exhibit ··B".

        18.    On or about October 30, 2014, Nationwide Mutual Insurance Company, by and

through claims representative, Gary Hricik, consented to the third party settlement, waiving

subrogation, and granting permission to proceed with an underinsured motorist claim under

claim number: 58 .37 C 970832 10132011 01. A copy of said letter is attached hereto and

marked as Exhibit ''C".
        Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 15 of 44




         19.   On or about the date of the accident, October 13, 2011, and at all times material

hereto, defendant, Nationwide Mutual Insurance Company, issued an insurance policy covering

the motor vehicle being operated by the plaintiff containing underinsured motorist endorsement

clause to plaintiff, Erin Degnan.

        20.    Toe aforesaid policy of insurance issued by Nationwide Mutual Insurance

Company was in full force and effect on October 13, 2011.

        21.    The policy of insurance issued by defendant, Nationwide Mutual Insurance

Company, under policy number: 58C970832, provided coverage for the protection of plaintiff,

Erin Degnan, against damages caused by an underinsured motorist, with underinsured motorist

limits of$300,000.00. A copy of said declaration sheet is attached hereto as Exhibit "D".

        22.    Plaintiff, Erin Degnan, has fully complied with all of the provisions of her policy

to date, but the defendant, Nationwide Mutual Insurance Company, is refusing to negotiate a

reasonable settlement for the damages sustained in the accident pursuant to its policy and

contract provision which covers the plaintiff, Erin Degnan.

        23.    The vehicle operated by the tortfeasor, Denise Washington, is an "underinsured

motor vehicle" as defined by the Nationwide Mutual Insurance Company policy, in that the total

limits of bodily injury liability limits is less than the amount of Erin Degnan's damages.

        WHEREFORE, plaintiff, Erin Degnan, hereby demands judgment against defendant,

Nationwide Mutual Insurance Company, for underinsured motorist benefits pursuant to policy

number: 58C970832, and all other applicable policies that may provide coverage to her in the

event of an excess verdict, in an amount in excess of Fifty Thousand ($50,000.00), plus interests

and costs.
       Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 16 of 44




                                             COUNTTWO

     ERIN DEGNAN V. UNITRIN DIRECT PROPERTY & CASUALTY COMPANY
             AND KEMPER CORPORATION AND KEMPER DIRECT
                     AND KEMPER SERVICES GROUP

       24.     Plaintiff incorporates herein by reference the averments contained in paragraphs I

through 23, inclusive, as fully as though the same were set forth herein at length.

       25.     On or about October 29, 2014, a letter was directed to Unitrin Direct Property &

Casualty Company confirming receipt of an offer of settlement in the amount of the policy limit

of $25,000.00, requesting consent to settle and waiver of subrogation for purposes of pursuing an

underinsured motorist claim with Unitrin Direct Property & Casualty Company, a copy of which

letter is attached hereto as Exhibit "E".

       26.     Unitrin Direct Property & Casualty is now known as Kemper Direct, which is a

subsidiary of Kemper Corporation and/or Kemper Services Group.

       27.     On or about January 16, 2015, Unitrin Direct Property & Casualty Company, by

and through Kemper Services Group claims representative, Douglas F. Schultz Jr., consented to

the third party settlement, waiving subrogation, and granting permission to proceed with an

underinsured motorist claim under claim number: A014955PA14. A copy of the confirming

email is attached hereto and marked as Exhibit "F".

        28.    On or about the date of the accident, October 13, 2011, and at all times material

hereto, defendant, Unitrin Direct Property & Casualty Company, issued an insurance policy

covering the motor vehicle being operated by the plaintiff containing underinsured motorist

endorsement clause to plaintiff, Erin Degnan.

       29.     The aforesaid policy of insurance issued by Unitrin Direct Property & Casualty

Company was in full force and effect on October 13, 2011.
         Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 17 of 44




         30.   The policy of insurance issued by defendant, Unitrin Direct Property & Casualty

Company, under policy number: 58C970832, provided coverage for the protection of plaintiff,

Erin Degnan, against damages caused by an underinsured motorist.

         31.   Plaintiff, Erin Degnan, has fully complied with all of the provisions of her policy

to date, but the defendant, Unitrin Direct Property & Casualty Company, is refusing to negotiate

a reasonable settlement for the damages sustained in the accident pursuant to its policy and

contract provision which covers the plaintiff, Erin Degnan.

         32.   The vehicle operated by the tortfeasor, Denise Washington, is an "underinsured

motor vehicle" as defined by the Unitrin Direct Property & Casualty Company policy, in that the

total limits of bodily injury liability limits is less than the amount of Erin Degnan's damages.

         WHEREFORE, plaintiff, Erin Degnan, hereby demands judgment against defendants,

Unitrin Direct Property & Casualty Company and Kemper Corporation and Kemper Direct and

Kemper Services Group, for underinsured motorist benefits pursuant to policy number:

A014955PA14, and all other applicable policies that may provide coverage to her in the event of

an excess verdict, in an amount in excess of Fifty Thousand ($50,000.00), plus interests and

costs.



                                      DISANDRO & MALLOY, P.C.


                                      BY:   /ltiaM    VIA. V h ~
                                             KEVINM. MALLOY, ESQUIRE
                                              ATTORNEY FOR PLAINTIFF




                                                                                              ( <1<;c '.'.)   IX l!JO(h8X
           Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 18 of 44




                                         VER·lFICATlON


        I, Erin Degnan                             , make this verification subject to the penalties of 18 Pa.

C.S.A. §4904, relating to unswom falsification to authorities. The attached pleading is based upon

infonnation which I have furnished to my counsel and infonnation which has been gathered by my counsel

in preparation for the prosecution of this lawsuit. The language contained in the pleading is that of counsel

and not mine. I have read the pleading. and to the extent it is based upon information which I have given to

my counsel, it is true and correct to the best of my knowledge, information, and belief. To the extent that

the contents of the pleading are that of counsel, I have relied upon my counsel in making this verification.




I>ated: ~~~10__/~2~/~1~8~~~




                                                                                                          ( .,l<;l' '. [)   l }{ \()(]0:',~8

                                        DISANDRO & MALLOY, P.C.
Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 19 of 44




           EXHIBITB
                          Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 20 of 44


Robert Stickley

From:                                            WALLACE, DNYA <wallad10@nationwide.com>
Sent:                                            Tuesday, October 23, 2018 5:39 PM
To:                                              Robert Stickley
Subject:                                         RE: Erin Degnan v. Unitrin et al



Hi Robert: I spoke with Nationwide and they have consented to removal. Thanks.

Divya



Sent with BlackBerry Work
(www.blackberry.com)


From: Robert Stickley <rstickley@stickley.law>
Date: Tuesday, Oct 23, 2018, 5:37 PM
To: WALLACE, DIWA <wallad10@nationwide.com>
Subject: [EXTERNAL] Erin Degnan v. Unitrin et al

Nationwide Information Security Warning: This is an external email. Do not click on links or open attachments unless
you trust the sender



Hi Divya,

Kindly advise if we have Nationwide's consent to remove the above matter to federal court.

Best regards,

Robert S. Stickley, Esquire
Stickley Law, LLC
18 Campus Boulevard, Suite 100
Newtown Square, PA 19073
484.423.3425 (office)
610.425.0321 (mobile)
rstickley@stickley. law
WWW.Stickley.Law

Tlus message is from a law firm and may contain mformatton that tS confulenttal or legally privileged. If you are not the intended recipient, please immediately contact
Robert Sttckley by email to rsttckley@mddey.law and delete th,s email




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                                    u
         Case 2:18-cv-04592-HB Document 1 iFiled 10/25/18
                                                     !'.;' Page 21 of 44


                                   a           H     ..
                     IN THE UNITED STATES DISTRICT COURT
                                                               a
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ERIN DEGNAN
 2036 County Club Drive
 Doylestown, PA 18901                                     CIVIL ACTION NO:
              Plaintiff,
        V.                                                            18          4592
 NATIONWIDE MUTUAL
 INSURANCE COMP ANY
 One Nationwide Gateway
 Des Moines, IA 50391-5867
        and
 UNITRIN DIRECT PROPERTY &
 CASUALTY COMPANY
 One East Wacker Drive
 Chicago, IL 60601
       and
 KEMPER CORPORATION
 One East Wacker Drive
 Chicago, IL 60601
       and
 KEMPER DIRECT
 One East Wacker Drive
 Chicago, IL 60601
       and
 KEMPER SERVICES GROUP
 One East Wacker Drive
 Chicago, IL 60601
              Defendants.

              - - - --- -             ------     -

                                     Certificate of Service

       I, Robert S. Stickley, Esquire, hereby certify that a true and correct copy of Defendant's

Notice of Removal and related forms and attachments, were served upon counsel for plaintiff via

email and regular mail and counsel for Nationwide via email ortly at the addresses listed below on

the date indicated below:
         Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 22 of 44



                                 Kevin M. Malloy, Esquire
                                 Disandro & Malloy, P.C.
                               1760 Market Street, Suite 1201
                                  Philadelphia, PA 19103
                                  km@disandromally.com
                                    Counsel for Plaintiff

                                    Divya Wallace, Esquire
                      Counsel for Nationwide Mutual Insurance Company
                                  .Wall ad I O{a),nationwide.com



                                      Stickley


                                                             ley
                                             Attorneys for Defendants,
                                             Unitrin Direct Property & Casualty Company,
                                             Kemper Corporation, Kemper Direct, and
                                             Kemper Services Group
                                             Identification No. 80849
                                             18 Campus Blvd. Suite 100
                                             Newtown Square, PA 19073
                                             484-423-3425

Dated:    l~t(
         12
                                             rstickley@stickley .law
            Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 23 of 44


                                        ~
 IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY, PENNSYLVANIA


Erin Degnan,                                       CIVIL DIVISION

       Plaintiff,                                  OCTOBER TERM, 2018

                                                   NO. 588
       v.                                                              18          4592
Nationwide Mutual Insurance Company,
Unitrin Direct Property & Casualty
Company, Kemper Corporation, Kemper
Direct and Kemper Services Group

       Defendants.


 NOTICE OF FILING OF NOTICE OF REMOVAL TO THE EASTERN DISTRICT OF
            PENNSYLVANIA IN PHILADELPHIA, PENNSYLVANIA

TO THE PROTHONOTARY:

       PLEASE TAKE NOTICE that on the             d~         day of October 2018, Defendants

Unitrin Direct Property & Casualty Company, Kemper Corporation, Kemper Direct and Kemper

Services Group filed a Notice of Removal with the United States District Court for the Eastern

District of Pennsylvania in Philadelphia, Pennsylvania. A copy of said Notice is attached hereto

as Exhibit "A."




                                            By:--------,...--,.".""'7'-------
                                                   Robert S. tic ey
                                                   Attorneys for Defendant,
                                                   Unitrin Direct Property & Casualty Company
                                                   Kemper Corporation, Kemper Direct, and
                                                   Kemper Services Group
                                                   Identification No. 80849
                                                   18 Campus Blvd., Suite 100
                                                   Newtown Square, PA 19073
                                                   T: 484.423.3425
                                                   rstickley@stickley.law
         Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 24 of 44




                                CERTIFICATE OF SERVICE

       I, Robert S. Stickley, do hereby certify that a true and correct copy of the foregoing Notice

of Filing of Notice of Removal was filed this date via the Philadelphia County Court of Common

Pleas Civil Trial Division's E-Filing System and thereby deemed served on all counsel of record

pursuant to Rule 205.4(g) of the Pennsylvania Rules of Civil Procedure and Local Rule

*205.4(f)(7).




                                                                 tic e , Esquire
                                                     Attorneys for Defendant,
                                                     Unitrin Direct Property & Casualty Company
                                                     Kemper Corporation, Kemper Direct, and
                                                     Kemper Services Group
                                                     Identification No. 80849
                                                     18 Campus Blvd., Suite 100
                                                     Newtown Square, PA 19073
                                                     T: 484.423.3425
                                                     rstickley@stickley.law
         Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 25 of 44


                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ERIN DEGNAN
2036 County Club Drive
Doylestown, PA 18901                                 CIVIL ACTION NO:
             Plaintiff,
       V.
NATIONWIDE MUTUAL
INSURANCE COMPANY
One Nationwide Gateway
Des Moines, IA 50391-5867
      and
UNITRIN DIRECT PROPERTY &
CASUALTY COMPANY
One East Wacker Drive
Chicago, IL 60601
    and
KEMPER CORPORATION
One East Wacker Drive
Chicago, IL 6060 I
    and
KEMPER DIRECT
One East Wacker Drive
Chicago, IL 60601
      and
KEMPER SERVICES GROUP
One East Wacker Drive
Chicago, IL 6060 I
             Defendants.



                                 NOTICE OF REMOVAL

TO:   THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

       Pursuant to 28 U.S.C. §§ 1332, 1441(a) and 1446, Defendants, Unitrin Direct Property &

Casualty Company, Kemper Corporation, Kemper Direct and Kemper Services Group,

(hereinafter "Defendants"), hereby file the instant Notice of Removal. Defendants seek removal
            Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 26 of 44



of this case from the Court of Common Pleas of Philadelphia County, Pennsylvania to the United

States District Court for the Eastern District of Pennsylvania in Philadelphia, Pennsylvania. In

support of this Notice of Removal, Defendants state as follows:

               CASE BACKGROUND AND FOUNDATION FOR REMOVAL

       1.       On or about October 4, 2018, Plaintiff commenced an action in the Court of

Common Pleas of Philadelphia County, Pennsylvania, against Defendants. Plaintiffs Complaint

seeks judgment against Defendants for breach of contract pursuant to a UIM policy of insurance

and arising out of a motor vehicle accident that allegedly occurred on or about October 13, 2011.

       2.      Plaintiff served Defendants with the Complaint on or about October 4, 2018. A true

and correct copy of Plaintiff's Complaint, which constitutes the entirety of all pleadings filed in

this matter, is attached hereto as Exhibit A and incorporated by reference.

       3.      This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1332.

Further, this matter is one that could be removed to this Courtpursuantto28 U.S.C. § 1441 because

it is a civil action between citizens of different states and in which the amount in controversy

exceeds $75,000, exclusive of interest and costs.

       4.      The United States District Court for the Eastern District of Pennsylvania is the

appropriate Court in which to file this Petition for Removal because the State Court Action is

pending in Philadelphia County, Pennsylvania. See 28 U.S.C. § 1441(a).

       5.      All defendants consent to removal. See Exhibit B, which is an email from counsel

for Nationwide Mutual Insurance Company providing written consent to the removal of this action.

                        COMPLETE DIVERSITY OF CITIZENSIDP

       6.      There is complete diversity of citizenship between the parties.

               (a) Plaintiff. Plaintiff Erin Degnan is a citizen of Pennsylvania, residing at 2036

Country Club Drive, Doylestown, PA 18901. See Complaint, Ex. A, at ,r 1.
            Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 27 of 44


                (b)   Defendants.     Unitrin Direct Property & Casualty Company, Kemper

Corporation, Kemper Direct and Kemper Services Group are incorporated in a state other than

Pennsylvania and their principal place of business is located in a state other than Pennsylvania.

Unitrin Direct Property & Casualty Company, Kemper Corporation, Kemper Direct and Kemper

Services Group are Illinois corporations with their principal place of business in Illinois. Thus,

Unitrin Direct Property & Casualty Company, Kemper Corporation, Kemper Direct and Kemper

Services Group are not citizens of Pennsylvania and are diverse from the Plaintiff.

                Co-Defendant Nationwide Mutual Insurance Company is incorporated in a state

other than Pennsylvania and its principle place of business is located in a state other than

Pennsylvania. Thus, all of the defendants are diverse from the plaintiff.

                      AMOUNT IN CONTROVERSY EXCEEDS $752000

       7.       Plaintiff does not quantify the amount of damages she seeks to recover in this case.

See Complaint. From the face of the Complaint, however, it is apparent that the amount in

controversy more likely than not exceeds $75,000, exclusive of interest and costs.

       8.       Because "'the Complaint may be silent or ambiguous on one or more of the

ingredients needed to calculate the amount in controversy,' '[a] defendant's notice ofremoval then

serves the same function as the Complaint would in a suit filed in federal court.'" Morgan v. Gay,

471 F.3d 469, 474 (3d Cir. 2006).

       9.     Where a federal cause of action is based on diversity jurisdiction, the Complaint must

allege an amount in controversy between the parties in excess of the statutory minimum. See 28

U.S.C. § 1332(a); Golden v. Golden, 382 F.3d 348, 354-355 (3d Cir. 2004). The amount need not

be proven; rather, the amount is judged from the face of the Complaint and is generally established

by a good faith allegation. See Horton v. Liberty Mut. Ins. Co., 367 U.S. 348,353, 6 L. Ed. 2d

890, 81 S. Ct. 1570 (1961) (measuring "good faith" by whether it appears "to a legal certainty the
          Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 28 of 44


claim is really for less than the jurisdictional amount'') (internal quotations and citations omitted);

St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 288, 82 L. Ed. 845, 58 S. Ct. 586

(1938); see also Jumara v. State Farm Ins. Co., 55 F.3d 873,877 (3d Cir. 1995).

        10.     Here, the amount in controversy more likely than not exceeds $75,000 based on

Plaintiff's claims, her alleged injuries, and the recovery sought. Plaintiff seeks recovery of

uninsured motorist benefits in an amount greater than $50,000 from the defendants. See Complaint

at Civil Cover Sheet and Wherefore Clauses. The allegations here are that Plaintiff sustained severe

injuries to her back and head. She alleges she sustained the following injuries: bulging discs at

C4-5 and CS-6 requiring epidural injections, disc desiccation at L4-5, headaches, shooting pains,

numbness, post traumatic myofascial syndrome, cervical strain and sprain, lumbar sprain and

strain, and a severe shock to her nervous system of which she alleges all have caused her great

pain and agony and allegedly have prevented her, and will continue to prevent her in the future,

from attending to her daily duties and occupation. See Complaint, Ex. A at ,r 10.

        11.    Plaintiff also seeks damages for past and future lost wages and is seeking

compensation for impairment of her future earning capacity. Plaintiff also alleges she sustained

"great financial damage and loss." See Complaint, Ex. A at ,r 10-13.

        12.    Unitrin Direct Property & Casualty Company, Kemper Corporation, Kemper Direct

and Kemper Services Group deny the allegations in the Complaint. However, taking those

allegations on their face as true, it is clear that Plaintiffs claims as evidenced by the Complaint

attached hereto as Exhibit A, demonstrate an amount in controversy in excess of$75,000.

        13.    Given the complete diversity of the real parties and an amount in controversy in

excess of$75,000, this Court has jurisdiction over the causes of action and claims asserted in the

State Court Action pursuant to 28 U.S.C. § 1332, and this action properly is removable pursuant

to 28 U.S.C. § 1441.
         Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 29 of 44


                                         OTHER ISSUES

       14.      This Notice of Removal is timely filed. See 28 U.S.C. § 1446(b).

       15.      This Notice of Removal has been served on Plaintiff's counsel.

       16.      The undersigned counsel hereby certifies that there are no hearings set before the

Court of Common Pleas of Philadelphia County, Pennsylvania from which this case is removed,

and all pleadings and process files therein are attached hereto.

                                         CONCLUSION

       Because Plaintiff and all Defendants are citizens of different states, and the amount in

controversy exceeds $75,000, exclusive of interest and costs, and all defendants consent to

removal, this Court has jurisdiction over Plaintiffs claims pursuant to 28 U.S.C. § 1332.

Defendants are therefore entitled to remove this case to this Court pursuant to 28 U.S.C. § 1441.

       WHEREFORE, Unitrin Direct Property & Casualty Company, Kemper Corporation,

Kemper Direct and Kemper Services Group requests that the action now pending before the Court

of Common Pleas of Philadelphia County, Pennsylvania, October Term, 2018, No. 588, be

removed to this Court.

                                              Respectfully Submitted,




                                                                      ey
                                                      Attorneys for Defendants,
                                                      Unitrin Direct Property & Casualty Company,
                                                      Kemper Corporatio~ Kemper Direct, and
                                                      Kemper Services Group
                                                      Identification No. 80849
                                                      18 Campus Blvd. Suite 100
                                                      Newtown Square, PA 19073
                                                      484-423-3425

Dated: t()   /Jr; /It[                                rstickley@stickley.law
Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 30 of 44




           EXHIBIT A
                       Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 31 of 44

        Court of Common Pleas of Philadelphia County
                      Trial Division
                    Civil Cover Sheet
Pl.AINTIFF'S NAME                                                                                        DEFEl'«lANT'S NAME
 ERIN     DEGNAN                                                                                            NATIONWIDE MUTUAL INSURANCE COMPANY

PI./JNTlFF'S AOCRESS                                                                                     DEFENDANT'S AOMESS
 2036 COUNTRY CLUB DRIVE                                                                                      ONE NATIONWIDE GATEWAY
 DOYLESTOWN PA 18901                                                                                          DES MOINES IA 50391

PLAINTIFF'S NAME                                                                                         DEFENOAAi'S NAME
                                                                                                              UNITRIN DIRECT PROPERTY                &   CASUALTY COMPANY

PLAINTIFF'S~                                                                                             DEFENO/\Nrs ADDRESS
                                                                                                              ONE EAST WACKER DRIVE
                                                                                                              CHICAGO IL 60601

PlAINTIFF'S NAME                                                                                         DEFENDANT'S NAME
                                                                                                              KEMPER CORPORATION

PLAINTIFF'S ADDRESS                                                                                      DEFENDANT'S ADDRESS
                                                                                                              ONE EAST WACKER DRIVE
                                                                                                              CHICAGO IL 60601

TOTAL NUM8ER OF PLAINTIFFS            TOTAL NUM!5ER OF DEFENDANTS                  COMMENCEMENT OF ACTION

                1                                             5
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AMOUNT IN CONTROVERSY            COURT PROGRAMS
                                D     Arbitration                                                                              ,;0Commerce                     D    Settlement
D $50,000.00 or less            D     Jury                                                                                      CJMinor Court Appeal           D    Minors
CiJ   More than SS0,000.00      Ci!   Non-Jury                                                                                 [J Statut.oiy Appeals           0    W/O'Survival
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CASE TYPE ANO CODE
                                      Other:
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  10 - CONTRACTS OTHER

STATUTORY lilASIS FOR CAUSE OF ACTION




RELATED PENDING CASES (UST l!V CASS CAPTION AND DOCKET NUMBER)                                             Rt.Et,                                  IS CASE SUl!JECT TO
                                                                                                                                                   COOROINA TION ORDER?
                                                                                       PROPAOnrt                                                              YES           NO

                                                                                  OCT 04 2018
                                                                                           M.BRYANT
TO THE PROTHONOTARY:
Kindly enter my appearance on behalfof Plaintiff!Petitioner/Appellant: ERIN DEGNAN
Papers may be served at the address set forth below.

NAME OF Pt.AINTlfF'S/PfTITIONER'SIAPPELLANT'S ATTORNEY                                                   ADDRESS
 KEVIN M. MALLOY                                                                                            1760 MARKET STREET
                                                                                                            SUITE 1201
PHONE NUMBER                              FAXNUMBl!:R                                                       PHILADELPHIA PA 19103
  (215)587-9900                            (215)587-9930

SUPREME COURT IDENTIFICATION f',fQ,                                                                      E-MAIL ADDRESS
 55685                                                                                                      km@disandromalloy.com
SIGNATURE OF AUNG ATTORNeV OR PARTY                                                                      IJ.ft.TE SU!IMITTED
 KEVIN MALLOY
                                                                                                            Thursday, October 04, 2018, 09:06 am
                                                           FINAL COPY (Approved by the Prothonotary Clerk)
          Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 32 of 44



COMPLETE LIST 0~ DBl'BNDAN't'S:
    1. NATIONWIDE MUTUAL INSURANCE COMPANY
         ONE NATIONWIDE GATEWAY
         DES MOINES IA 50391
    2. UNITRIN DIRECT PROPERTY & CASUALTY COMPANY
         ONE EAST WACKER DRIVE
         CHICAGO IL 60601
    3. KEMPER CORPORATION
         ONE EAST WACKER DRIVE
         CHICAGO IL 60601
    4. KEMPER DIRECT
         ONE EAST WACKER DRIVE
         CHICAGO IL 60601
    5. KEMPER SERVICES GROUP
         ONE EAST WACKER DRIVE
         CHICAGO IL 60601
           Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 33 of 44


DISANDRO & MALLOY, P.C.
By; Kevin M. Malloy, Esquire
Identification No. 55685
1760 Market Street, Suite 1201
Philadelphia, Pennl)'lvania 19103
(215) 587-9900


ERIN DEGNAN
2036 Country Club Drive
Doylestown, PA 18901

vs.
                                                                                          TERM, 2018
NATIONWIDE MUWAL
INSURANCE COMPANY                                                            NO.
One Nationwide Gateway
Des Moines, IA 50391-5867
and
UNITRIN DIRECT PROPERTY &
CASUALTY COMPANY
One East Wacker Drive
Chicago, IL 60601
and
(caption continued on next page)


                                                             CIVIL ACTION
                                NOTICE                                                                   AVISO
     You have been sued in court. If you wish to defend apinst the              Le ban dcmandado I ustcd en la cortL Si usfed quicte dcfciMlcrlc
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                       Philadelphia, PA 19107                                REDUCIDO O SIN COSTO NINOUNO.
                      Telephone: 21.5-231-6333
                                                                             ASOCIACION DE LlCENCIAOOS DE FILADELFIA SERVICIO
                                                                                   DE R.EFERENCIA E INFORMACION LEGAL
                                                                                           J 101 Marte.ct Street,. 11• floor
                                                                                          Jillldelfil, PcnllS)'lvanla 19 l07
                                                                                                   Tcltfoao: 215-231-6333
      Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 34 of 44



(captio11 continued from previous page)

KEMPER CORPORATION
One &st Wacker Drive
Chicago, IL 60601
mid
KEMPER DIRBCT
One Bast Wacker Drive
Chicago, IL 60601 .
and
KEMPER SERVICES GROUP
One East Wacker Drive
Chicago, IL 60601




                                                                      Case fr} l 81000588
       Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 35 of 44




DISANDRO & MALLOY, P.C.
By: Kevin M, Malloy, Esquire
Identification No. 55685                         ATTORNEY FOR PLAINTIFF
1760 Market Street, Suite 1201
Philadelphia, Pennsylvania 19103
(215) 587-9900


ERIN DEGNAN                                    COURT OF COMMON PLEAS
2036 Country Club Drive                        PHILADELPHIA COUNTY
Doylestown, PA 18901

vs.
                                                        TERM,2018
NATIONWIDE MUTUAL
INSURANCE COMPANY                              NO.
One Nationwide Gateway
Des Moines, IA 50391-5867
and
UNITRIN DIRECT PROPERTY &
CASUALTY COMPANY
One East Wacker Drive
Chicago, IL 60601
and
KEMPER CORPORATION
One East Wacker Drive
Chicago, IL 6060 I
and
KEMPER DIRECT
One East Wacker Drive
Chicago, IL 60601
and
KEMPER SERVICES GROUP
One East Wacker Drive
Chicago, IL 6060 I


                                     CIVIL ACTION

      1.     Plaintiff, Erin Degnan, is an individual who resides at 2036 Country Club Drive,

Doylestown, PA 18901.




                                                                                       Case ID:   181001);;ss
         Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 36 of 44




         2.    Defendant, Nationwide Mutual Insurance Company, is a Corporation licensed to

do business in the Commonwealth of Pennsylvania, with an address of One Nationwide

Gateway, Des Moines, IA 50391-5867.

         3.    Defendant, Unitrin Direct Property & Casualty Company, is a Corporation

licensed to do business in the Commonwealth of Pennsylvania, with an address of One East

Wacker Drive, Chicago, IL 60601.

         4.    Defendant, Kemper Corporation, is a Corporation licensed to do business in the

Commonwealth of Pennsylvania, with an address of One East Wacker Drive. Chicago, IL

60601.

         5.    Defendant, Kemper Direct, is a Corporation licensed to do business in the

Commonwealth of Pennsylvania, with an address of One East Wacker Drive, Chicago, IL

60601.

         6.    Defendant. Kemper Services Group, is a Corporation licensed to do business in

the Commonwealth of Pennsylvania, with an address of One East Wacker Drive, Chicago, IL

60601.

         7.    At all times material hereto, defendants, Nationwide Mutual Insurance Company

and/or Unitrin Direct Property & Casualty Company and/or Kemper Corporation and/or Kemper

Direct and/or Kemper Services Group, were duly organized corporations doing business on a

regular basis in the County of Philadelphia, deriving substantial compensation therefrom.

         8.    This matter arises from a motor vehicle accident that occurred on October 13,

2011, at which time plaintiff, Erin Degnan, was the operator of a motor vehicle which was struck

by another motor vehicle owned and operated by tortfeasor, Denise Washington.




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       Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 37 of 44




       9.      The aforesaid motor vehicle accident occurred at/near Old York Road and

Wheatsheaf Road, Abington Township, Montgomery County, Commonwealth of Pennsylvania,

and was the sole result of the negligence and/or recklessness of tortfeasor, Denise Washington,

who was then nnd there operating her motor vehicle in a negligent and/or reckless manner,

failing to have proper control of her vehicle, thereby causing a rear end collision.

       10.     As a result of the above mentioned accident, plaintiff sustained the following

injuries: bulging discs at C4-5 and CS-6 requiring epidural injections, disc desiccation at L4-5,

headaches, shooting pains, numbness, post traumatic myofascial syndrome, cervical strain and

sprain, lumbar sprain and sprain, and a severe shock to her nervous system, all of which have

caused her and will continue to cause her great pain and agony, and have prevented her and will

continue to prevent her in the future from attending to her daily duties and occupation, all to her

great financial damage and loss.

        11.    Plaintiff is covered by the "Full Tort" option, which gives her the unlimited right

to sue under Pennsylvania Law for both economic and noneconomic losses arising from this

accident.

       12.     Further, by reason of the aforesaid, plaintiff, Erin Degnan. has been obliged to

expend various sums of money for medicine and medical attention in and about endeavoring to

treat and cure herself of her said injuries, and will be obliged to expend additional sums of

money for the same purposes in the future, all to her great financial damage and loss.

       13.     As a further result of the accident and the injuries sustained therein, plaintiff, Erin

Degnan, has and may suffer lost wages and an impairment of her earning capacity and power,

which lost wages and impainncnt of earning capacity and power has or may exceed the sums




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       Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 38 of 44




recoverable under the limitations of the Pennsylvania Motor Vehicle Financial Responsibility

law.

       14.     The owner and operator of the vehicle which struck the plaintiff on the date of the

accident was insured by State Farm Mutual Automobile Insurance Company, which policy

provided for $25,000.00 of liability coverage under the policy, with no excess umbrella

coverage.

       15.     On or about October 8, 2014, State Farm Mutual Automobile Insurance Company

agreed to pay its $25,000.00 policy limit to settle this claim, which is confirmed by way of letter

dated October 30, 2014, a copy of which is attached hereto and marked as Exhibit ''A".

                                              COUNT ONE

              ERIN DEGNAN V. NATIONWIDE MUTUAL INSURANCE COMPANY

       16.     Plaintiff incorporates herein by reference the avertnents contained in paragraphs 1

through 15, inclusive, as fully as though the same were set forth herein at length.

       17.     On or about October 9, 2014, a letter was directed to Nationwide Mutual

Insurance Company confmning receipt of an offer of settlement in the amount of the policy limit

of$25,000.00, requesting consent to settle and waiver of subrogation for purposes of pursuing an

underinsured motorist claim with Nationwide Mutual Insurance Company, a copy of which letter

is attached hereto as Exhibit "B".

        18.    On or about October 30, 2014, Nationwide Mutual Insurance Company, by and

through claims representative, Gary Hricik, consented to the third party settlement, waiving

subrogation, and granting permission to proceed with an underinsured motorist claim under

claim number: 58 37 C 970832 10132011 01. A copy of said letter is attached hereto and

marked as Exhibit "C".




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       Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 39 of 44




        19.    On or about the date of the accident, October 13, 2011, and at all times material

hereto, defendant. Nationwide Mutual Insurance Company, issued an insurance policy covering

the motor vehicle being operated by the plaintiff containing underinsured motorist endorsement

clause to plaintiff, Erin Degnan.

       20.     The aforesaid policy of insurance issued by Nationwide Mutual Insurance

Company was in full force and effect on October 13, 2011.

       21.     The policy of insurance issued by defendant, Nationwide Mutual Insurance

Company, under policy number: 58C970832, provided coverage for the protection of plaintiff,

Erin Degnan. against damages caused by an underinsured motorist, with underinsurcd motorist

limits of$300,000.00. A copy of said declaration sheet is attached hereto as Exhibit "D".

       22.     Plaintiff, Erin Degnan, has fully complied with all of the provisions of her policy

to date, but the defendant, Nationwide Mutual Insurance Company, is refusing to negotiate a

reasonable settlement for the damages sustained in the accident pursuant to its policy and

contract provision which covers the plaintiff, Erin Degnan.

       23.     The vehicle operated by the tortfeasor. Denise Washington, is an ''underinsured

motor vehicle" as defined by the Nationwide Mutual Insurance Company policy. in that the total
limits of bodily injury liability limits is less than the amount of Erin Degnan's damages.

       WHEREFORE, plaintiff, Erin Degnan, hereby demands judgment against defendant,

Nationwide Mutual Insurance Company, for underinsurcd motorist benefits pursuant to policy

number: 58C970832, and all other applicable policies that may provide coverage to her in the

event of an excess verdict, in an amount in excess of Fifty Thousand ($50,000.00), plus interests

and costs.




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       Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 40 of 44




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     ERIN DEGNAN V. UNITRIN DIRECT PROPERTY & CASUALTY COMPANY
             AND KEMPER CORPORATION AND KEMPER DIRECT
                     AND KEMPER SERVICES GROUP

       24.     Plaintiff incorporates herein by reference the averments contained in paragraphs 1

through 23, inclusive, as fully as though the same were set forth herein at length.

       2S.     On or about October 29, 2014, a letter was directed to Unitrin Direct Property &

Casualty Company confinning receipt of an offer of settlement in the ai.nount of the policy limit

of $25,000.00, requesting consent to settle and waiver of subrogation for purposes of pursuing an

underinsured motorist claim with Unitrin Direct Property & Casualty Company, a copy of which

letter is attached hereto as Exhibit "E".

       26.     Unitrin Direct Property & Casualty is now known as Kemper Direct, which is a

subsidiary of Kemper Corporation and/or Kemper Services Group.

       27.     On or about January 16, 2815, Unitrin Direct Property & Casualty Company, by

m1d through Kemper Services Group claims representative, Douglas F. Schultz Jr., consented to

the third party settlement, waiving subrogation, and granting permission to proceed with an

underinsurcd motorist claim under claim number: A0l49SSPA14. A copy of the confirming

email is attached hereto and marked as Exhibit "F,.

        28.    On or about the date of the accident, October 13, 2011, and at all times material

hereto, defendant, Unitrin Direct Property & Casualty Company, issued an insurance policy

covering the motor vehicle being operated by the plaintiff containing underinsurcd motorist

endorsement clause to plaintiff, Erin Dcgmm.

       29.     The aforesaid policy of insurance issued by Unitrin Direct Property & Casualty

Company was in full force and effect on October 13, 2011.




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         Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 41 of 44




         30.   The policy of insurance issued by defendant, Unitrin Direct Property & Casualty

Company, under policy number: 58C970832, provided coverage for the protection of plaintiff,

Erin Degnan, against damages caused by an underinsurcd motorist.

         31.   Plaintiff, Erin Degnan, has fully complied with all of the provisions of her policy

to date, but the defendant, Unitrin Direct Property & Casualty Company, is refusing to negotiate

a reasonable settlement for the damages sustained in the accident pursuant to its policy and

contract provision which covers the plaintiff, Erin Degnan.

         32.   The vehicle operated by the tortfeasor, Denise Washington, is an "undcrinsured

motor vehicle" as defined by the Unitrin Direct Property & Casualty Company policy, in that the

total limits of bodily injury liability limits is less than the amount of Erin Degnan's damages.

         WHEREFORE, plaintiff, Erin Degnan, hereby demands judgment against defendants,

Unitrin Direct Property & Casualty Company and Kemper Corporation and Kemper Direct and

Kemper Services Group, for underinsured motorist benefits pursuant to policy nwnber:

A014955PA14, and all other applicable policies that may provide coverage to her in the event of

an excess verdict, in an amount in excess of Fifty Thousand ($50,000.00), plus interests and

costs.



                                      DISANDRO & MALLOY, P.C.


                                      BY: /   %M        v1A. V I A . ~ ,
                                              KEVIN M. MALLOY, ESQUIRE
                                              ATIORNEY FOR PLAINTIFF




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           Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 42 of 44




                                         VERIFICAIIQN


        I, Erin Degnan                             • make this verification subject to the penalties of la Pa.

C.S.A. §4904, relating to unswom falsification to authorities. The attached pleading is based upon

infonnation which I have furnished to my counsel and information which has been gathered by my counsel

in preparation for the prosecution of this lawsuit. The language contained in tho pleading is that of counsel

and not mine. I have read the pleading. and to the extent it is based upon information which I have given to

my counsel. it is true and comet to the best ofmy knowledge, information, and belief. To the extent that

the contents of the pleading arc that of counsel, I have relied upon my counsel in making this verification.




Dated: _ _l_0__/_2/_1_8_ __




                                        DISANDRO & MALLOY, P.C.
Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 43 of 44




           EXHIBITB
              Case 2:18-cv-04592-HB Document 1 Filed 10/25/18 Page 44 of 44
Robert Stickley

From:                                           WALLACE, DJ.vYA<walladl0@nationwide.com>
Sent:                                           Tuesday, October 23, 2018 5:39 PM
To:                                             Robert Stickley
Subject:                                        RE: Erin Degnan v. Unitrin et al


Hi Robert: I spoke with Nationwide and they have consented to removal. Thanks.

Divya


Sent with BlackBerry Work
(www.blackberry.com)

From: Robert Stickley <rstiddey@stickley.law>
Date: Tuesday, Oct 23, 2018, 5:37 PM
To: WALLACE, DIVYA <wa!lad10@nationwide.com>
Subject: [EXTERNAL] Erin Degnan v. Unitrin et al

Natuonwide Information Security Warning: This is an external email. Do not click on links or open attachments unless
you trust the sender.


Hi Divya,

Kindly advise if we have Nationwide's consent to remove the above matter to federal court.

Best regards,

Robert S. Stickley, Esquire
Stickley Law, LLC
18 Campus Boulevard, Suite 100
Newtown Square, PA 19073
484.423.3425 (office)
610.425.0321 (mobile)
rstickleY-@stickley.law
www.Stickley.Law

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Robert Stiddcy by email to rstickley@sttcldey.law and delete this email




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